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14
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15 Company
16                     UNITED STATES DISTRICT COURT
17                  NORTHERN DISTRICT OF CALIFORNIA
18 IN RE: ROUNDUP PRODUCTS               MDL No. 2741
19 LIABILITY LITIGATION,                 Case No. 3:16-md-02741-VC
20
   Estate of Thomas N. Williams and      MONSANTO COMPANY’S NOTICE OF
21 Mary Jo Williams v. Monsanto          MOTION AND MOTION FOR
   Company                               SUMMARY JUDGMENT ON
22 Case No. 3:19-cv-03537-VC             CAUSATION GROUNDS
23                                       Hearing:
24                                       Date: December 21, 2023
                                         Time: 10:00 a.m.
25                                       Place: Courtroom 4 - 17th Floor
                                                450 Golden Gate Avenue
26                                              San Francisco, CA 94102
27
28

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 1         TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF
 2 RECORD:
 3         PLEASE TAKE NOTICE THAT on December 21, 2023 at 10:00 a.m. in
 4 Courtroom 4 of the United States District Court, Northern District of California,
 5 located at 450 Golden Gate Avenue, San Francisco, CA 94102, or as ordered by the
 6 Court, Defendant Monsanto Company (“Monsanto”) will move this Court for an
 7 order, pursuant to Federal Rule of Civil Procedure 56(c), entering judgment in its
 8 favor and against Wave 6D Plaintiffs Mary Jo Williams and the estate of Thomas J.
 9 Williams (“Plaintiffs”), on the grounds that there is no genuine issue of material
10 fact as to any claim for relief brought by Plaintiffs, and Monsanto is entitled to
11 summary judgment.
12
13 Dated: November 7, 2023                  Respectfully submitted,
14
                                            /s/ Jed P. White
15                                              Jed P. White
16                                          Attorney for Defendant Monsanto Company

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                MONSANTO’S NOTICE OF MOTION & MOTION FOR SUMMARY JUDGMENT
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 1                 MEMORANDUM OF POINTS AND AUTHORITIES
 2           To prevail on any of their claims, Plaintiffs must prove that Roundup was the
 3 proximate cause of Thomas Williams’ cancer. Whether Roundup—a chemical
 4 compound—is defective, can cause cancer generally, and whether it actually did cause
 5 Mr. Williams’ cancer specifically, are specialized issues for which expert testimony
 6 is required. But Plaintiffs failed to disclose any expert reports regarding specific
 7 causation, which were due September 25, 2023. Without expert testimony to prove
 8 specific causation, none of Plaintiffs’ claims may proceed.
 9                                     BACKGROUND
10           Plaintiffs allege that exposure to Monsanto’s Roundup-branded herbicides
11 (“Roundup”) “in or around Carlisle, Iowa, from 1974 through 2011” caused Mr.
12 Williams to develop cancer.1 See Complaint. ECF 1, ¶¶ 13-15. Both Plaintiff Mary
13 Jo Williams and Mr. Williams were residents of Iowa at the time Plaintiffs brought
14 this action. Id. Plaintiffs seek to hold Monsanto responsible for Mr. Williams’ cancer,
15 asserting five causes of action. The lynchpin of Plaintiffs’ complaint is that
16 glyphosate—the active-ingredient in Roundup—caused Mr. Williams’ cancer. See id.
17 at ¶¶ 106-179.
18           On November 10, 2022, this MDL Court required all Wave 6D plaintiffs,
19 including Plaintiffs in this case, to submit expert reports no later than September 25,
20 2023. See Order Granting Joint Request for Revised Schedule for Wave 5-6 Cases
21
22   1
       For cases “filed in, or removed to, federal courts across the country and transferred
23   to the MDL court by the Judicial Panel on Multidistrict Litigation[,] . . . the MDL
     court must apply the law of the transferor forum, that is, the law of the state in which
24   the action was filed, including the transferor forum’s choice-of-law rules.” In re Vioxx
25   Prods. Liab. Litig., 478 F. Supp. 2d 897, 903 (E.D. La. 2007). Here, Iowa is the
     transferor forum. Under Iowa law, if a conflict of law exists, Iowa follows the most-
26   significant-relationship test as set forth in the Restatement (Second) of Conflict of
     Laws. See, e.g., Moad v. Dakota Truck Underwriters, 831 N.W.2d 111, 114 (Iowa
27   2013). However, the Court does not need to decide whether California or Iowa law
     applies because under both of those states’ laws (cited herein), expert testimony is
28   required to establish specific causation in this case.
                                                1
                           MONSANTO’S MOTION FOR SUMMARY JUDGMENT
         Case 3:16-md-02741-VC Document 17478 Filed 11/07/23 Page 4 of 7



 1 and Adding Wave 7 Schedule (MDL ECF #15765) (“Scheduling Order”).2 The expert
 2 discovery required by this Order must be accompanied by written reports signed by
 3 the experts and must contain “a complete statement of all opinions the witnesses will
 4 express and the basis and reasons for them,” among other information. Fed. R. Civ.
 5 P. 26(a)(2)(B)(i).
 6           Plaintiffs did not submit an expert report regarding specific causation by the
 7 September 25, 2023 deadline. Specifically, Plaintiffs have not served any expert
 8 report containing case-specific evidence of a causal link between Roundup exposure
 9 and Mr. Williams’s cancer. (Declaration of Jed White (“White Decl.”), ¶ 3.)
10                         SUMMARY JUDGMENT STANDARD
11           Summary judgment is appropriate when there is “no genuine dispute as to any
12 material fact and the moving party is entitled to judgment as a matter of law.” Fed. R.
13 Civ. P. 56(a). A fact is material when it could affect the outcome of the case, and a
14 dispute about a material fact is genuine “if the evidence is such that a reasonable jury
15 could return a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477
16 U.S. 242, 248 (1986). The moving party bears the burden of “informing” the Court
17 that there exists the “absence of a genuine issue of material fact.” Celotex Corp. v.
18 Catrett, 477 U.S. 317, 323 (1986). Once the moving party has met this burden, the
19 nonmoving party must come forward with evidence to show there is in fact a genuine
20 issue for trial. Id. at 323-24. A “complete failure of proof concerning an essential
21 element of the nonmoving party’s case” warrants summary judgment and “necessarily
22 renders all other facts immaterial.” Id. at 323.
23 ///
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    See also Order Granting Joint Request for Revised Schedule for Wave 6-7 Cases
   and Adding Wave 8 Cases (Aug. 30, 2023) (MDL ECF #17234) (operative scheduling
28 order listing “Wave 6A-6D Expert Schedule” as “No Change”).
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                           MONSANTO’S MOTION FOR SUMMARY JUDGMENT
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 1                                      ARGUMENT
 2 I.       SUMMARY JUDGMENT IS REQUIRED BECAUSE PLAINTIFFS
 3          LACK THE REQUIRED ADMISSIBLE EXPERT TESTIMONY ON
 4          CAUSATION.
 5          Under California and Iowa law, expert medical testimony is required to
 6 establish causation of a specific physical injury if such cause is not within the common
 7 knowledge of the jurors. Stephen v. Ford Motor Co., 134 Cal. App. 4th 1363, 1373
 8 (2005) (in a product liability case “where the complexity of the causation issue is
 9 beyond common experience, expert testimony is required to establish causation”);
10 Ranes v. Adams Lab’ys, Inc., 778 N.W.2d 677, 685 (Iowa 2010) (summary judgment
11 proper where plaintiff lacks admissible expert testimony to establish complex
12 causation). Indeed, this requirement is common to every jurisdiction in the country.
13 See In re Lipitor Marketing, Sales Practices & Products Liability Litigation, 227 F.
14 Supp.3d 452, 469 (D.S.C. 2017) (“While the specific language used by courts varies
15 to some degree, all jurisdictions require expert testimony at least where the issues are
16 medically complex and outside common knowledge and lay experience.”); In re
17 Mirena IUS Levonorgestrel-Related Prod. Liab. Litig. (No. II), 387 F. Supp. 3d 323,
18 341 (S.D.N.Y. 2019), aff’d, 982 F.3d 113 (2d Cir. 2020) (“It is well established that
19 ‘expert testimony is required to establish causation’ where the issue of causation is
20 ‘beyond the knowledge of lay jurors.’ Other courts, surveying the law of the 50 states
21 and territories, have concluded that each jurisdiction typically adheres to this
22 principle.” (citation omitted)).
23          Here, Plaintiffs allege that Mr. Williams was diagnosed with cancer, which she
24 claims was caused by his exposure to Roundup. See, e.g., Compl. ¶¶ 121-122. “With
25 cancer the question of causation is especially troublesome[;] . . . it is frequently
26 difficult to determine the nature and cause of a particular cancerous growth.” Jones v.
27 Ortho Pharm. Corp., 163 Cal. App. 3d 396, 403 (1985). As a result, “the unknown
28 and mysterious etiology of cancer is beyond the experience of laymen and can only
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                          MONSANTO’S MOTION FOR SUMMARY JUDGMENT
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 1 be explained through expert testimony.” Id. (citation and internal quotation marks
 2 omitted). Thus, the causal link between Mr. Williams’ injury and Roundup is a highly
 3 technical question of science that is beyond the jurors’ understanding.
 4         Plaintiffs’ deadline to disclose expert reports was September 25, 2023. See
 5 Scheduling Order. To date, Plaintiffs have not disclosed a report regarding specific
 6 causation. Plaintiffs had ample time and opportunity to satisfy his expert disclosure
 7 obligations under Rule 26(a)(2) and the Scheduling Order. And honoring strict
 8 deadlines in an MDL is particularly important. See Allen v. Bayer Corp. (In re:
 9 Phenylpropanolamine (PPA) Prods. Liab. Litig.), 460 F.3d 1217, 1222 (9th Cir. 2006)
10 (affirming dismissal of cases in MDL for failure to comply with case management
11 orders because “multidistrict litigation is different because of the large number of
12 cases that must be coordinated, its greater complexity, and the court’s statutory charge
13 to promote the just and efficient conduct of the actions”).
14         This Court has granted summary judgment in favor of Monsanto in similar
15 cases where the plaintiff failed to disclose a specific causation expert, finding that
16 expert testimony was required to prove causation:
17
           Expert testimony also is required to establish causation for Matthaus-
18         Shelton’s other product liability and tort claims. That’s because whether
19         Roundup caused her multiple myeloma is a highly technical question that
           is not within the common knowledge and experience of an ordinary
20         layperson.
21 Matthaus-Shelton v. Monsanto Company, 20-cv-00168, Doc. No. 17 (Order Granting
22 Summary Judgment, dated November 29, 2022); see also Adrine Hann v. Monsanto
23 Company, 20-cv-7213, Doc. No. 23 (Order Granting Summary Judgment, dated
24 November 3, 2022) (“Whether Roundup caused [Plaintiff’s] multiple myeloma is a
25 highly technical and scientific question. Without expert testimony, a jury can only
26 speculate.”).
27         As a result of Plaintiffs’ failure to disclose an expert report on the issue of
28 specific causation, they cannot prove causation—an essential element of all their
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 1 claims. Without any evidence of case-specific causation, Monsanto is entitled to
 2 summary judgment on all Plaintiffs’ claims. See Stephen, 134 Cal. App. 4th at 1373-
 3 74 (plaintiff’s “inability to present expert testimony was fatal to her product liability
 4 and negligence claims, and [thus] nonsuit was proper”); Ranes, 778 N.W.2d at 685;
 5 Martinez v. Ethicon Inc., No. 7:19-CV-00164, 2020 WL 2113638, at *2 (S.D. Tex.
 6 May 1, 2020) (“Products liability cases are quintessentially expert cases, and failure
 7 to designate experts almost always leads to summary judgment.”); Sterling v. United
 8 States, 834 F. App’x 83, 87 (5th Cir. 2020) (upholding summary judgment where the
 9 plaintiff failed to designate expert witnesses); Cooper v. Smith & Nephew, Inc., 259
10 F.3d 194, 196-197 (4th Cir. 2001) (affirming dismissal of product liability claims
11 where appellant “had no admissible medical evidence indicating that [defendant]’s
12 device was the proximate cause of his injuries”); Jones v. Danek Med., Inc., No. Civ.
13 A. 4:96-3323-12, 1999 WL 1133272, at *5 (D.S.C. Oct. 12, 1999) (“There being no
14 expert testimony regarding causation, summary judgment is granted on the products
15 liability allegations.”).
16                                     CONCLUSION
17         For the foregoing reasons, Monsanto is entitled to summary judgment on all of
18 Plaintiffs’ claims.
19
20 Dated: November 7, 2023                  Respectfully submitted,
21
                                            /s/ Jed P. White
22                                          Jed P. White
23                                          Attorney for Defendant Monsanto Company

24                             CERTIFICATE OF SERVICE
25        I hereby certify that on November 7, 2023, I electronically filed the foregoing
   with the Clerk of the Court by using the CM/ECF system which will send a notice of
26 electronic filing (NEF) to all counsel of record who are CM/ECF participants.
27                                          /s/ Jed P. White
                                            Jed P. White
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                          MONSANTO’S MOTION FOR SUMMARY JUDGMENT
